Case 2:21-cv-00240-JRG         Document 1       Filed 06/30/21     Page 1 of 28 PageID #: 1




                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

   ORANGE ELECTRONIC CO. LTD.,

                  Plaintiff,

          v.                                       Civil Action No. 2:21-cv-240

   AUTEL INTELLIGENT TECHNOLOGY JURY TRIAL DEMANDED
   CORP., LTD.

                  Defendant.


                     COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Orange Electronic Co. Ltd. (“Orange”) files this Complaint against

  Defendant Autel Intelligent Technology Corp., Ltd. (“Autel”), based on its own

  knowledge as to itself and its own actions, and based on information and belief as to all

  other matters, alleging as follows:

                                        INTRODUCTION

         This matter involves Orange’s tire pressure monitoring system (“TPMS”) patent

  (U.S. Patent No. 8,031,064 C3) infringed by Autel’s tire pressure monitoring system

  (TPMS) products (“Autel’s TPMS products”). TPMS products detect/monitor air

  pressure in the tires of a vehicle and are now included in nearly every modern vehicle.

  Technology underlying the manufacture and use of TPMS products is, in short, extremely

  valuable.




                                               1
Case 2:21-cv-00240-JRG         Document 1         Filed 06/30/21    Page 2 of 28 PageID #: 2




                                               I.

                                       THE PARTIES

         1.      Plaintiff Orange Electronic Co. Ltd. (“Orange”) is a Taiwanese company

  located at 5F, No.29, Keya Rd. Central Taiwan Science Park, Taichung 42881, Taiwan.

         2.      Defendant Autel Intelligent Technology Corp., Ltd. (“Autel”) is a Chinese

  company located at 7th, 8th and 10th Floor, Building B1, Zhiyuan, Xueyuan Road, Xili,

  Nanshan, Shenzhen, 518055, China.

                                              II.

                                NATURE OF THE ACTION

         3.      This is an action for patent infringement.

         4.      Orange is informed and believes and alleges that Autel has been and is

  currently infringing and/or contributing to and/or actively inducing others to infringe

  claims of U.S. Patent No. 8,031,064 C3 (“the ’064 Patent” or “the Asserted Patent”).

                                              III.

                              JURISDICTION AND VENUE

         5.      This action arises under the patent laws of the United States, Title 35 of

  the United States Code, 35 U.S.C. § 1 et seq.

         6.      This Court has subject matter jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331 and 1338(a).

         7.      This Court has at least specific personal jurisdiction over Autel because

  Autel has substantial contacts and conducts business in the State of Texas and in this

                                               2
Case 2:21-cv-00240-JRG           Document 1        Filed 06/30/21    Page 3 of 28 PageID #: 3




  District and has been infringing, contributing to the infringement of and/or actively

  inducing others to infringe claims of the Asserted Patent in Texas and elsewhere.

         8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

  1391(d) and/or 1400(b) because a substantial part of the events giving rise to Orange’s

  claims occurred in the Eastern District of Texas and because Autel is subject to personal

  jurisdiction in the Eastern District of Texas.

                                               IV.

                                 FACTUAL BACKGROUND

         9.      The ’064 Patent relates to a tire pressure detecting apparatus including an

  identification rewriteable tire pressure detector and a setting apparatus.

         10.     On October 4, 2011, U.S. Patent No. 8,031,064, titled “Tire Pressure

  Detecting Apparatus and Tire Pressure Detector Identification Copying Method for the

  Same” was duly and legally issued by the United States Patent and Trademark Office to

  Hung-Chih Yu.

         11.     On November 7, 2013, a reexamination certificate was issued as U.S.

  Patent No. 8,031,064 C1, in which the patentability of claims 8 and 10-13 were

  confirmed, claims 1-7 and 9 were cancelled, and new claims 14 and 15 were added and

  determined to be patentable.

         12.     On December 12, 2014, a reexamination certificate was issued as U.S.

  Patent No. 8,031,064 C2, in which claims 8 and 10-15 were cancelled and new claims

  16-25 were added and determined to be patentable.

                                                   3
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21      Page 4 of 28 PageID #: 4




           13.   On May 15, 2020, a reexamination certificate was issued as U.S. Patent

  No. 8,031,064 C3 (the “’064 Patent”), in which claims 20 and 22 were cancelled, claims

  16, 18, 21, 23, 24, and 25 were determined to be patentable as amended, claims 17 and 19

  were determined to be patentable, and new claims 26-29 were added and determined to

  be patentable. A true copy of the original reexamined ’064 Patent is attached as Exhibit

  1.

           14.   Hung-Chih Yu duly assigned the ’064 Patent to Orange on September 17,

  2008. Orange is the owner of the ’064 Patent with all substantive rights in and to that

  patent, including the sole and exclusive right to prosecute this action and enforce the ’064

  Patent against infringers, and to collect damages for infringement during all relevant

  times.

           15.   Reproduced immediately below is “FIG. 1” from the ’064 Patent,

  annotated to identify the identification rewriteable tire pressure detector and the setting

  apparatus:




                                                4
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21      Page 5 of 28 PageID #: 5




                                                                                               setting
                                                                                               apparatus




   identification
   rewriteable
   tire pressure
   detector


         16.     Orange manufactures or licenses other companies to manufacture the

  TPMS products claimed in the Asserted Patent. This TPMS apparatus is sold to various

  distributors and tire stores who obtain the right to use the patented inventions in their

  vehicles by purchasing from Orange or from an authorized manufacturer. Companies

  who do not obtain a license from Orange do not have permission to manufacture or sell

  the patented TPMS products.

         17.     Orange is informed and believes and alleges that Autel has made, used,

  provided, supplied, distributed, sold, and/or offered for sale in the United States and in

  this district, TPMS products that infringe the Asserted Patent, without authorization from

  Orange and continues to do so now.


                                                5
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21      Page 6 of 28 PageID #: 6




         18.     Autel has manufactured and sold Autel’s TPMS products that infringe the

  Asserted Patent and which include at least, but not limited to, MaxiTPMS TS501,

  MaxiTPMS TS601, TS401, TS408, TS508, TS608, MS906TS, ITS 600, TS508WF, 1-

  Sensor (Press-in) M, 1-Sensor (Press-in) R, 1-Sensor (Screw-in) M, 1-Sensor (Screw-in)

  R, 315MHz MX-Sensor M, 433MHz MX-Sensor M, 315Mhz MX-Sensor R, and

  433MHz MX-Sensor R.

         19.     As shown in more detail below, Autel’s TPMS products include each and

  every limitation of at least, but not limited to, claims 23 and 26-29 of the ’064 Patent and

  therefore literally infringe these claims. Orange reserves the right to assert additional

  claims and to assert infringement under the doctrine of equivalents in light of information

  learned during discovery or in view of this Court’s claim construction order.

         20.     An image of Autel’s TPMS products found in the MaxiTPMS TS501 is

  shown below. Autel’s TPMS products include a MaxiTPMS TS501 (1) and a MX-sensor

  (2), all of the same fundamental components claimed in the Asserted Patent.




                                                6
Case 2:21-cv-00240-JRG         Document 1       Filed 06/30/21      Page 7 of 28 PageID #: 7




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         21.     As shown below at page 1 in Autel’s website attached as Exhibit 2, the

  MX-sensor (2) is a tire pressure sensor that is ID clone-able, and may be installed in a

  vehicle.




         22.     As shown below, the MX-sensor (2) includes a micro-processing module

  F87EHHC XEHFE (3). In addition, as shown below in at page 4 of Autel’s

  FXTH87E_rev. 5.0 Reference Manual, attached as Exhibit 3, the micro-processing

  module F87EHHC XEHFE (3) includes a RAM memory which is a rewriteable memory.

                                               7
Case 2:21-cv-00240-JRG   Document 1       Filed 06/30/21   Page 8 of 28 PageID #: 8




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                                          8
Case 2:21-cv-00240-JRG           Document 1       Filed 06/30/21      Page 9 of 28 PageID #: 9




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           23.     As shown above in Autel’s FXTH87E_rev. 5.0 Reference Manual at page

    4, the MX-sensor (2) also includes a press sensor (4) that is electrically connected to the



                                                 9
Case 2:21-cv-00240-JRG        Document 1        Filed 06/30/21     Page 10 of 28 PageID #: 10




   micro-processing module (3), detects a tire pressure, and sends the detection result to the

   micro-processing module (3).

          24.     As shown above in Autel’s FXTH87E_rev. 5.0 Reference Manual at page

   4, the MX-sensor (2) also includes an RF AMP (5) that is controlled by the micro-

   processing module (3) to transmit a radio frequency (RF) signal including an ID of the

   MX-sensor (2).

          25.     As shown below, Autel’s MX-sensor (2) includes a battery (6) that

   supplies power. As shown above in Autel’s FXTH87E_rev. 5.0 Reference Manual at

   page 4, in MX-sensor (2), the AVDD connects the battery (6) that is connected to the

   micro-processing module (3) and supplies power to the MX-sensor (2).




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                                               10
Case 2:21-cv-00240-JRG        Document 1        Filed 06/30/21     Page 11 of 28 PageID #: 11




          26.     As shown above in Autel’s FXTH87E_rev. 5.0 Reference Manual at page

   4, the MX-sensor (2) also includes LF RECVR (7) which is an interface that receives an

   external signal and sends the received external signal to the micro-processor unit (3).

          27.     As shown below at page 54-55 in Autel’s MaxiTPMS TS501 User Manual

   V2.0, attached as Exhibit 4, the external signals include an external ID to be written into

   the rewriteable memory unit or to be used to overwrite a present identification in the

   rewriteable memory unit of the MX-sensor (2).




                                               11
Case 2:21-cv-00240-JRG       Document 1       Filed 06/30/21      Page 12 of 28 PageID #: 12




          28.    As shown below at page 4 in Autel’s MaxiTPMS brochure, attached as

   Exhibit 5, the TS501 (1) is a portable device external to the vehicle that communicates

   with the MX-sensor (2).




                                              12
    Case 2:21-cv-00240-JRG     Document 1      Filed 06/30/21    Page 13 of 28 PageID #: 13




             29.    As shown below, Autel’s MaxiTPMS TS501 (1) includes a control

       module ATMEL SAM9X35 (8).


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             30.    As shown below, Autel’s MaxiTPMS TS501 (1) includes a keyboard (9)

       that receives a manual input and is connected to the control module ATMEL SAM9X35

       (8). As shown below in Autel’s MaxiTPMS TS501 User Manual V2.0 at pages 50-51,

                                               13
Case 2:21-cv-00240-JRG          Document 1       Filed 06/30/21      Page 14 of 28 PageID #: 14




     the keyboard (9) can receive a manual input of an identification to be written into the

     MX-sensor (2).




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                                                 14
Case 2:21-cv-00240-JRG   Document 1   Filed 06/30/21   Page 15 of 28 PageID #: 15




                                      15
Case 2:21-cv-00240-JRG           Document 1        Filed 06/30/21   Page 16 of 28 PageID #: 16




             31.     As shown below, Autel’s MaxiTPMS TS501 (1) includes a receiving

      module Infineon-TDA5420-DS (10) connected to a control module ATMEL SAM9X35

      (8) to receive an RF signal from the MX-sensor (2) and send the received RF signal to the

      control module ATMEL SAM9X35 (8).




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             32.     As shown below, Autel’s MaxiTPMS TS501 (1) includes an output

      module (11) as annotated that is controlled by the control module ATMEL SAM9X35

      (8), to send the external signal to the MX-sensor (2).




                                                  16
Case 2:21-cv-00240-JRG          Document 1    Filed 06/30/21     Page 17 of 28 PageID #: 17




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          33.    As shown below in Autel’s MaxiTPMS brochure at page 4, the external

   signal is generated by the control module ATMEL SAM9X35 (8) that includes the ID

   provided by the keyboard (9) or provided by the RF signal received by the receiving

   module Infineon-TDA5420-DS (10).




                                              17
Case 2:21-cv-00240-JRG          Document 1       Filed 06/30/21      Page 18 of 28 PageID #: 18




           34.       As shown below, Autel’s MaxiTPMS TS501 (1) includes a battery (12)

   that acts as a power source and is connected to the control module ATMEL SAM9X35

   (8).




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           35.       As shown below in Autel’s MaxiTPMS brochure at page 4 and Autel’s

   MaxiTPMS TS501 User Manual V2.0 at pages 50-51, Autel’s MaxiTPMS TS501 (1) is

   configured to obtain an update ID to be written into a new MX-sensor either by copying

   by activation, receiving the RF signal from an old tire pressure detector by the receiving

   module, retrieving an old identification of the old tire pressure detector from the RF

   signal, and using the old identification as the update identification, or by receiving a

   manual input of the ID from the keyboard (9), and using the ID as the update

   identification.




                                                18
Case 2:21-cv-00240-JRG       Document 1       Filed 06/30/21     Page 19 of 28 PageID #: 19




         36.      As shown below, the MX-sensor (2) originally only stores the preset ID

   171186 (13).




                                              19
Case 2:21-cv-00240-JRG        Document 1      Filed 06/30/21      Page 20 of 28 PageID #: 20




          13




          37.     As shown below, Autel’s MaxiTPMS TS 501 (1) has a DRAM (14) and

   Autel’s MaxiTPMS TS501 User Manual V2.0 at pages 53-54 show that the update

   identification is stored in the DRAM (14) of the TS 501 (1).




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Case 2:21-cv-00240-JRG        Document 1       Filed 06/30/21      Page 21 of 28 PageID #: 21




          38.     As shown below in Autel’s MaxiTPMS TS501 User Manual V2.0 at pages

   55-56, the TS501 (1) can send signals to the MX-sensor (2) such that the MX-sensor (2)

   records the update identification in the rewritable memory unit or overwrites the original

   preset ID (13) in the rewritable memory unit by the update identification.


                                               21
Case 2:21-cv-00240-JRG   Document 1   Filed 06/30/21   Page 22 of 28 PageID #: 22




                                      22
Case 2:21-cv-00240-JRG         Document 1       Filed 06/30/21      Page 23 of 28 PageID #: 23




             39.   As shown above in Autel’s FXTH87E_rev. 5.0 Reference Manual at page

   4, with respect to the LF RECVR (7) interface, the external signal is a low frequency

   signal.

             40.   As show below, the TS501 (1) judges the consistency of the update

   identification newly recorded in the rewritable memory unit and the preset identification

   of the MX-sensor (2) and when a same identification number as the present identification

   number of the MX-sensor (2) is input into the TS 501 (1), the input result is successful.




             41.   On July 9, 2020, Orange sent a letter to Autel, disclosing the ’064 Patent

   and identifying accused TPMS products as infringing the ’064 Patent.

             42.   Subsequent to the July 9, 2020, and knowing of its infringement as set

   forth in that letter, Autel continued to actively and knowingly contribute to, encourage,

   aid, and abet others to import, sell, offer to sell, and use the infringing TPMS products in

   the United States.



                                                23
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21      Page 24 of 28 PageID #: 24




                                                 V.

                                    CLAIMS FOR RELIEF

                   COUNT 1: INFRINGEMENT OF THE ’064 PATENT

          43.     The allegations of Paragraphs 1-42 are repeated and realleged as if fully

   set forth in this Count I of the Complaint.

          44.     Autel continued, after notice of infringement and without authority, to

   make, use, sell, offer to sell, and/or import into the United States Autel’s TPMS products

   as shown above.

          45.     Autel thus has infringed and continues to infringe at least claims 23 and

   26-29 of the ’064 Patent literally and/or under the doctrine of equivalents.

          46.     Autel has also actively induced and will continue to actively induce the

   infringement of at least one of claims 23 and 26-29 of the ’064 Patent, in violation of 35

   U.S.C. § 271(b), by, among other things, actively and knowingly aiding and abetting

   infringement of others through activities such as creating and/or distributing data sheets,

   requirements documents, assembly instructions and/or similar materials with instructions

   on creating, manufacturing, designing, assembling and/or implementing infringing

   products, with the specific intent to induce others to directly make, use, offer for sale,

   sell, and/or import into the United States products that fall within the scope of the ’064

   Patent, without license or authority from Plaintiff. On information and belief, Autel

   knows that the induced acts constitute infringement of the ’064 Patent.




                                                 24
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21      Page 25 of 28 PageID #: 25




          47.     Autel individually, collectively, or through others or intermediaries, has

   contributorily infringed, and/or is contributorily infringing, in violation of 35 U.S.C. §

   271(c), at least one claim of the ’064 Patent by making, using, offering for sale, selling,

   and/or importing, material parts of the inventions claimed in the ’064 Patent, which are

   not a staple article or commodity of commerce suitable for substantial non-infringing use,

   and knowing the accused parts to be especially made or especially adapted for use in an

   infringement of the ’064 claims.

          48.     Autel had knowledge of the ’064 Patent and of its infringement before the

   filing of this action. As discussed above, Orange disclosed the ’064 Patent to Autel in

   written correspondence that identified the ’064 Patent and the accused infringing TPMS

   products.

          49.     Autel also has knowledge of the ’064 Patent at least as of the date when it

   was notified of the filing of this action. Autel’s direct and indirect infringement of

   the ’064 Patent has thus been committed with knowledge of the ’064 Patent, making

   Autel liable for direct, indirect, and willful infringement.

          50.     Autel’s infringement of the ’064 Patent will continue to damage Orange,

   causing irreparable harm for which there is no adequate remedy at law, unless it is

   enjoined by this Court.

          51.     Orange has been damaged as a result of the infringing conduct by Autel

   alleged above. Thus, Autel is liable to Orange in an amount that adequately compensates




                                                 25
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21     Page 26 of 28 PageID #: 26




   it for such infringement, which, by law, cannot be less than a reasonable royalty, together

   with interest and costs as fixed by this Court under 35 U.S.C. § 284.

             52.   Orange and/or its predecessors-in-interest have satisfied all statutory

   obligations required to collect pre-filing damages for the full period allowed by law.

                                                V.

                                    PRAYER FOR RELIEF

             53.   WHEREFORE, Plaintiff Orange asks this Court to enter judgment in its

   favor against Autel and grant the following relief:

             54.   An adjudication that Autel has infringed and continues to infringe the ’064

   Patent;

             55.   An accounting of all damages sustained by Orange as a result of Autel’s

   acts of infringement of the ’064 Patent;

             56.   An award to Orange of actual damages adequate to compensate Orange

   for Autel’s acts of patent infringement, together with prejudgment and post-judgment

   interest;

             57.   An award to Orange of enhanced damages, up to and including trebling of

   Orange’s damages pursuant to 35 U.S.C. § 284 for Autel’s willful infringement of

   the ’064 Patent;

             58.   An award of Orange’s costs of suit and reasonable attorneys’ fees pursuant

   to 35 U.S.C. § 285 due to the exceptional nature of the case, or otherwise permitted by

   law;
                                                26
Case 2:21-cv-00240-JRG         Document 1        Filed 06/30/21       Page 27 of 28 PageID #: 27




          59.     A grant of a permanent injunction pursuant to 35 U.S.C. § 283, enjoining

   Autel, and each of its agents, servants, employees, principals, officers, attorneys,

   successors, assignees, and all those in active concert or participation with Autel,

   including related individuals and entities, customers, representatives, OEMs, dealers, and

   distributors from further acts of (1) infringement, and (2) active inducement to infringe

   with respect to the claims of the ’064 Patent; and

          60.     Any further relief that this Court deems just and proper.

                                                VI.

                                        JURY DEMAND

          Plaintiff Orange requests a jury trial on all issues triable to a jury in this matter.

    DATE: June 30, 2021                          Respectfully submitted,


                                                 /s/ J. Thad Heartfield_________
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                                                 27
Case 2:21-cv-00240-JRG   Document 1   Filed 06/30/21   Page 28 of 28 PageID #: 28




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                                      28
